Case 2:15-ml-02668-PSG-SK Document 665-9 Filed 10/28/22 Page 1 of 2 Page ID
                                #:15303




                           EXHIBIT 
Case 2:15-ml-02668-PSG-SK Document 665-9 Filed 10/28/22 Page 2 of 2 Page ID
                                #:15304

 From:               Farhad Mirzadeh
 To:                 jkopczynski@omm.com
 Cc:                 apena@omm.com; Sirajee, Monsura A.; mseltzer@susmangodfrey.com; igore@susmangodfrey.com;
                     sard@susmangodfrey.com; tfinn@susmangodfrey.com; hlanger@langergrogan.com;
                     pleckman@langergrogan.com; ndiver@langergrogan.com; ktrainer@langergrogan.com; Scott A. Martin; Sathya
                     S. Gosselin; Samuel Maida
 Subject:            NFL Sunday Ticket - DirecTV Open Items
 Date:               Friday, May 6, 2022 3:53:00 PM
 Attachments:        image001.png
                     image002.png
                     image003.png


Hi Jeff,

We are in receipt of the April 29 affiliation list for DirecTV’s privilege log. During our meet and confer, you
stated that we could expect a corrected privilege log this week, as well as a production of additional
documents. Can you please let us know if you anticipate producing a corrected privilege log today or, if
not, when we can expect one?

You also stated we would receive a proposal, in response to Plaintiffs’ letter and our meet and confers to
date, regarding what additional fields of information you would agree to provide in an amended privilege
log. Please let me know when we can expect more information on this.

Finally, I want to follow up with our request for Plaintiffs’ invoices from DirecTV. Have you had a chance
to discuss our request with your client and gather a response about whether DirecTV could provide older
invoices for the Plaintiffs in the action? Please let me know.

Best,
Farhad


FARHAD MIRZADEH
Associate
fmirzadeh@hausfeld.com
+1 202 849 4763 direct




888 16th Street, N.W.
Suite 300
Washington, DC 20006
+1 202 540 7200
hausfeld.com


This electronic mail transmission from Hausfeld LLP may contain confidential or privileged information. If you believe you
have received this message in error, please notify the sender by reply transmission and delete the message without copying
or disclosing it.
